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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

DR. S. STANLEY YOUNG,
3401 Caldwell Drive
Raleigh, NC 27607,

              Plaintiff,
       v.

UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY,
                                                       Civil Action No. 1:21-cv-2623
1200 Pennsylvania Avenue, NW
Washington, DC 20460,
                                                       COMPLAINT FOR
MICHAEL S. REGAN, in his official capacity as          DECLARATORY,
Administrator of the EPA,                              INJUNCTIVE, AND
1200 Pennsylvania Avenue, NW                           MANDAMUS RELIEF
Washington, DC 20460,

SCIENCE ADVISORY BOARD,
1200 Pennsylvania Avenue, NW
Washington, DC 20460,

ALISON C. CULLEN, in her official capacity as
Chair of the Science Advisory Board,
1200 Pennsylvania Avenue, NW
Washington, DC 20460,

CLEAN AIR SCIENTIFIC ADVISORY
COMMITTEE,
1200 Pennsylvania Avenue, NW
Washington, DC 20460, and

ELIZABETH A. SHEPPARD, in her official
capacity as Chair of the Clean Air Scientific
Advisory Committee,
1200 Pennsylvania Avenue, NW
Washington, DC 20460,

              Defendants.
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      Plaintiff Dr. S. Stanley Young, by and through his undersigned attorneys,

alleges as follows:

                                 INTRODUCTION

      1.     The Environmental Protection Agency (“EPA”) has a problem with

dissent. In an unprecedented purge, EPA eliminated all industry representatives

from two important advisory committees in order to stack those committees with

academics who are financially beholden to EPA for multi-million dollar research

grants. Through this mass dismissal, EPA guaranteed that the committees will

rubber stamp the new administration’s regulations without the inconvenience of an

objecting voice from the very industries targeted by those regulations and bearing

the cost of those regulations, to the tune of billions of dollars a year. These newly

constituted, industry-free advisory committees are neither fairly balanced nor

protected from inappropriate influence in violation of the Federal Advisory

Committee Act (“FACA”). Further, EPA has never attempted to explain how the

composition of these new committees could possibly comply with FACA, nor did

EPA acknowledge—much less justify—its departure from its longstanding,

bipartisan practice of ensuring industry representation on these two advisory

committees. EPA also abandoned—again without acknowledgment or

explanation—its policy of addressing grant-based conflicts of interests on an

individual appointment-by-appointment basis. In its haste to eliminate all traces of

industry from its advisory committees, EPA ran roughshod over FACA and its

obligation to engage in reasoned decision-making.
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      2.     Numerous advisory committees provide input and recommendations to

EPA on a wide range of environmental policies that impact industries across

America. This case involves two such committees: the 40- to 50-member Science

Advisory Board (“Board” or “SAB”), which reviews the scientific and technical bases

for EPA regulations and provides scientific and policy advice at the agency’s request

on any issue, and the 7-member Clean Air Scientific Advisory Committee

(“Committee” or “CASAC”), which performs a critical role advising EPA on air

quality standards, as well as the energy and economic impact of those standards.

Despite the “advisory” label, EPA engagement with these committees is, in fact,

mandatory: “The statute creating the SAB, for example, requires that [EPA] ‘shall

make available’ to the Board ‘any proposed criteria document, standard, limitation,

or regulation’ created under numerous environmental statutes and shared with any

other agency, and the Clean Air Act requires that when issuing notice of certain

proposed rules, EPA must ‘set forth or summarize’ the findings and

recommendations of CASAC and, ‘if the proposal differs in any important respect

from any of these recommendations,’ EPA must provide ‘an explanation of the

reasons for such differences.” Physicians for Soc. Resp. v. Wheeler, 956 F.3d 634,

639 (D.C. Cir. 2020) (quoting 42 U.S.C. §§ 4365(c), 7607(d)(3)). Both committees are

subject to FACA.

      3.     FACA imposes two fundamental requirements on agencies that form

advisory committees: (1) the membership of each committee must be “fairly

balanced in terms of the points of view represented and the functions to be

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performed by the advisory committee,” and (2) the agency must adopt “appropriate

provisions to assure that the advice and recommendations of the advisory

committee will not be inappropriately influenced by the appointing authority or by

any special interest, but will instead be the result of the advisory committee’s

independent judgment.” 5 U.S.C. app. 2 § 5(b)(2), (b)(3), (c).

      4.     Consistent with these requirements, EPA has long taken steps to

ensure that its advisory committees are fairly balanced and free of inappropriate

influence. For instance, across administrations over the last two decades, the Board

has consisted of a mix of members affiliated with universities, non-profits, state and

tribal governments, consulting organizations, and (particularly relevant here)

regulated industries. The Committee, too, has included industry-affiliated

members. Industry representation is essential because industry inputs inform the

advice of both the Board and the Committee, and the committees’ advice and the

resulting EPA actions significantly affect numerous regulated industries. Indeed,

EPA estimates that its air quality standards impose billions of dollars in compliance

costs on regulated industry every year, which explains why EPA previously took

steps to include representatives of regulated industry on its advisory committees.

      5.     In addition, to further safeguard the independence of these

committees, members are usually appointed for and complete multi-year terms.

Indeed, during three prior presidential administrations dating back to 2000,

individual members of the Board and Committee were rarely fired, and none of the

administrations terminated the entire membership of the committees en masse.

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      6.     All of this changed during the opening months of the current

administration. In March 2021, only twenty days after being sworn, new EPA

Administrator Michael S. Regan (the “Administrator”) abruptly fired all members of

the Board and the Committee, including Plaintiff Dr. S. Stanley Young, a former

Board member and an accomplished statistician. In doing so, the Administrator did

not claim that any former member had been unqualified to serve on the committees

or had rendered unsatisfactory service. Nor did the Administrator claim that his

decision was supported by prior agency practice. Unsurprisingly, his decision was

immediately and widely recognized as an “unusual,” “ham-handed,” “purge,”

“designed to shrink the influence of industry on” the committees.1 Over these

objections, the Administrator rapidly proceeded to pack the new committees with

academics receiving multi-million dollar research grants from EPA, appointing a

full slate of 47 members to the Board and 7 members to the Committee (while

rejecting Dr. Young’s nominations for reappointment to the Board and appointment

to the Committee). But not one of these 54 new members is affiliated with

regulated industries.




      1  Dino Grandoni, EPA dismisses dozens of key science advisers picked under
Trump, Wash. Post (Mar. 31, 2021), https://www.washingtonpost.com/climate-
environment/2021/03/31/epa-advisory-panels; Kristen Holmes, EPA removes dozens
of Trump-appointed advisers from two advisory panels, CNN (Mar. 31, 2021),
https://www.cnn.com/2021/03/31/politics/environmental-protection-agency-trump-
appointees/index.html; Jennifer Dlouhy & Stephen Lee, Biden Purges Science
Adviser Panels Trump Tilted Toward Industry, Bloomberg (Mar. 31, 2021),
https://www.bloomberg.com/news/articles/2021-03-31/biden-purges-science-adviser-
panels-trump-tilted-toward-industry.

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      7.     This “purge” and the subsequent reconstitution of the Board and the

Committee violated FACA and its implementing regulations. The committees are

now unfairly balanced—both in terms of points of view and the functions the

committees are required to perform—because they lack a single member affiliated

with regulated industries. EPA also failed to adopt appropriate measures to ensure

that the committees are protected from inappropriate influence. The new

committees are subject to inappropriate influence because they are stacked with

academics who are financially beholden to EPA through multi-million dollar

research grants.

      8.     On top of these FACA violations, EPA’s reconstitution of the two

committees violated the Administrative Procedure Act (“APA”) in several respects.

First, EPA failed to comply with FACA’s implementing regulations. Second, EPA

failed to reasonably explain how the two committees—packed with academics

dependent on EPA’s financial support but lacking any industry representation—

could possibly be considered fairly balanced or free from inappropriate influence.

Third, EPA failed to acknowledge or explain the reversal of (a) its longstanding

policy of including representatives of regulated industry on its advisory committees

and (b) its more recent policy of policing grant-based conflicts on an appointment-

by-appointment basis. Fourth, EPA failed to consider important aspects of the

problem in reconstituting the two committees, including the regulatory factors that

must be considered to achieve a “balanced” advisory committee and the extent to



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which EPA grants could affect the members’ ability to provide independent advice

to EPA.

        9.     For these reasons, Plaintiff requests that the Court (a) declare that

EPA violated the APA, FACA, and its implementing regulations in reconstituting

the Board and the Committee, and that the committees are not lawfully constituted,

(b) issue mandamus relief barring the Board, the Committee, and their respective

Chairs from conducting any committee activities until the relevant committee is

lawfully constituted, (c) enjoin EPA from receiving, relying on, or otherwise using

any report or other action of each committee until the committee is lawfully

constituted, (d) set aside the appointments of the current members of the Board and

the Committee, and (e) enjoin EPA to reconstitute the committees with fairly

balanced membership and adequate protections against inappropriate influence.

                            JURISDICTION AND VENUE

        10.    This Court has jurisdiction over this case under 28 U.S.C. §§ 1331 and

1361.

        11.    This Court has the authority to grant declaratory, injunctive, and

mandamus relief and set aside unlawful agency action under the Declaratory

Judgment Act, the Mandamus Act, the APA, and this Court’s inherent equitable

powers. See 28 U.S.C. §§ 1361, 2201, 2202; 5 U.S.C. §§ 702–704, 706.

        12.    Venue is proper in this district under 28 U.S.C. § 1391(e)(1)(A), (B) and

5 U.S.C. § 703.




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                                      PARTIES

      13.    Plaintiff S. Stanley Young, Ph.D, is a resident of North Carolina and

currently the CEO of CGStat. Dr. Young previously served as a member of the

Board. He was appointed to a 3-year term in 2017 and was reappointed for another

3-year term in 2020, but that term was cut short when the new EPA Administrator

abruptly fired him along with every other member in March 2021. When EPA

reconstituted the Board and the Committee later in 2021, Dr. Young was nominated

to serve on both committees, but EPA did not select Dr. Young to serve on either

committee.

      14.    Dr. Young previously worked at Eli Lilly, GlaxoSmithKline, and the

National Institute of Statistical Sciences on questions of applied statistics, and he

worked in the pharmaceutical industry on all phases of pre-clinical research. He

authored or co-authored over 60 papers, including six “best paper” awards and a

frequently cited book, Resampling-Based Multiple Testing (John Wiley & Sons, Inc.,

1993), and he has three issued patents. Dr. Young is a Fellow of the American

Statistical Association and the American Association for the Advancement of

Science, as well as the Director of the National Association of Scholars’ Shifting

Sands Project and an adjunct professor of statistics at North Carolina State

University, the University of Waterloo, the University of British Columbia, and

Georgia Southern University. Dr. Young is a graduate of North Carolina State

University, B.S., M.E.S., and a Ph.D in Statistics and Genetics.




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      15.    Dr. Young has experience and affiliations with industries regulated by

EPA. For fifteen years, he served as the chief statistician for the Toxicology

Division of Eli Lilly and Company. In that capacity, he supervised and advised Eli

Lilly on matters related to EPA regulatory efforts, such as the statistical methods

utilized by Eli Lilly in its submissions to EPA. In addition, Dr. Young has

published multiple studies on issues implicating regulated industries. See, e.g.,

Young et al., Time Series Smoother for Effect Detection, PLOS One (2018); Young et

al., Local Control Strategy: Simple Analyses of Air Pollution Data Can Reveal

Heterogeneity in Longevity Outcomes, 37 Risk Analysis 1742 (2017).

      16.    Dr. Young also has particular expertise in air quality. In 2017, for

example, he and two co-authors published the study “Air Quality and Acute Deaths

in California, 2000–2012” in the scientific journal Regulatory Toxicology and

Pharmacology. The study generated and examined datasets concerning air quality

levels for ozone and particulate matter and daily deaths in California over a span of

more than a decade. Using time series analysis and sensitivity analysis, the study

concluded that the data did not support that the air quality levels were causally

related to acute deaths.

      17.    Dr. Young sought nominations to both committees because he wants to

provide input and advice to EPA on how its policies impact regulated industries.

      18.    In addition, Dr. Young sought nominations to the committees because

serving on EPA advisory committees is a valuable and prestigious credential. As

EPA has explained, “[m]embers of the CASAC constitute a distinguished body of

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non-EPA scientists and engineers who are nationally and internationally recognized

experts in their respective fields.” Request for Nominations of Candidates to the

EPA’s CASAC, 86 Fed. Reg. 17,146, 17,146 (Apr. 1, 2021). Likewise, “[m]embers of

the SAB constitute a distinguished body of non-EPA scientists, engineers, and

economists who are nationally and internationally recognized experts in their

respective fields.” Request for Nominations of Candidates to the EPA’s SAB, 86

Fed. Reg. 17,148, 17,148 (Apr. 1, 2021). Being terminated from the Board and not

selected for the reconstituted committees has deprived Dr. Young of this prestigious

credential and the opportunity to share his input and advice to EPA as a member of

the committees.

       19.     Defendant EPA is an agency of the United States government.

       20.     Defendant Michael S. Regan is the Administrator of the EPA and is

sued in his official capacity.

       21.     Defendant Science Advisory Board is an EPA advisory committee.

       22.     Defendant Alison C. Cullen is the Chair of the Science Advisory Board

and is sued in her official capacity.

       23.     Defendant Clean Air Scientific Advisory Committee is an EPA

advisory committee.

       24.     Defendant Elizabeth A. Sheppard is the Chair of the Clean Air

Scientific Advisory Committee and is sued in her official capacity.




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                             STATEMENT OF FACTS

I.    The Federal Advisory Committee Act Requires Advisory Committees
      To Be Fairly Balanced And Protected From Inappropriate Influence

      25.     Both the Board and the Committee are subject to FACA, a statute

enacted in 1972 that aims to enhance “the public accountability of advisory

committees established by the Executive Branch,” Pub. Citizen v. U.S. Dep’t of

Just., 491 U.S. 440, 459 (1989), and “ensure that persons or groups directly affected

by the work of a particular advisory committee would have some representation on

the committee,” Nat’l Anti-Hunger Coal. v. Exec. Comm. of President’s Priv. Sector

Surv. on Cost Control, 711 F.2d 1071, 1074 n.2 (D.C. Cir. 1983).

      26.     FACA imposes a number of requirements on advisory committees and

the agencies that form such committees. It mandates that the “membership” of an

advisory committee must be “fairly balanced in terms of the points of view

represented and the functions to be performed by the advisory committee.” 5 U.S.C.

app. 2 § 5(b)(2), (c). FACA also requires an agency forming an advisory committee

to make “appropriate provisions to assure that the advice and recommendations of

the advisory committee will not be inappropriately influenced by the appointing

authority or by any special interest, but will instead be the result of the advisory

committee’s independent judgment.” Id. § 5(b)(3), (c).

      27.     These “important” requirements are designed to ensure “fair

representation of different points of view,” so that (for example) committee members

“will not all be educators on committees in the Department of Education and will

not be all scientists, physicians, or medical men on commissions relating to the
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Institutes of Health.” Pub. Citizen v. Nat’l Advisory Comm. on Microbiological

Criteria for Foods, 886 F.2d 419, 437 (D.C. Cir. 1989) (Edwards, J., concurring in

part and dissenting in part) (quoting 118 Cong. Rec. 16,296 (1972)).

      28.     FACA further directs the General Services Administration (“GSA”) to

develop government-wide standards and controls applicable to advisory committees.

5 U.S.C. app. 2 § 7(c). Accordingly, the GSA has promulgated regulations

expounding on the various FACA requirements. See Federal Advisory Committee

Management, 41 C.F.R. pt. 102-3 (the “FACA Implementing Regulations”).

      29.     The FACA Implementing Regulations reiterate that an advisory

committee “must be fairly balanced in its membership in terms of the points of view

represented and the functions to be performed.” 41 C.F.R. § 102-3.30(c). The

regulations further specify factors that should be considered to achieve a “balanced”

advisory committee, including:

              (i) The advisory committee’s mission;

              (ii) The geographic, ethnic, social, economic, or scientific impact of the
              advisory committee’s recommendations;

              (iii) The types of specific perspectives required, for example, such as
              those of consumers, technical experts, the public at-large, academia,
              business, or other sectors;

              (iv) The need to obtain divergent points of view on the issues before the
              advisory committee; and

              (v) The relevance of State, local, or tribal governments to the
              development of the advisory committee’s recommendations.




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41 C.F.R. pt. 102-3, subpt. B, app. A. EPA’s own handbook on advisory committees

reiterates these factors and also directs the agency to consider “[g]roups that have

been involved or have a particular interest in the subject matter of the committee.”

EPA, FACA Advisory Committee Handbook § 5.2.1 (2003) (“EPA Handbook”).

      30.     In addition, the GSA “strongly recommend[s]” that agencies forming

non-discretionary committees (such as the committees at issue here) “ensure ‘that,

in the selection of members for the advisory committee, the agency will consider a

cross-section of those directly affected, interested, and qualified, as appropriate to

the nature and functions of the advisory committee.’” GSA Office of

Governmentwide Policy, Federal Advisory Committee Membership Balance Plan

(Jan. 2011), https://www.gsa.gov/cdnstatic/MembershipBalancePlanGuidance-

November_2011.pdf (quoting 41 C.F.R. § 102-3.60(b)(3)). As encouraged by the

GSA, EPA adopted a policy requiring the “consider[ation]” of “a cross-section of

stakeholders directly affected/interested and qualified when selecting … members”

for its advisory committees (including the Board and the Committee). EPA

Handbook §§ 3.3.2, 4.3.2.

      31.     To further the aims of FACA, the then-Administrator of the EPA

issued a directive in 2017 titled “Strengthening and Improving Membership on EPA

Federal Advisory Committees.” Ex. 1. Among other things, the directive

announced a blanket rule providing that committee members could not be in receipt

of EPA grants or hold positions that otherwise reaped substantial benefits from

EPA grants. Id. at 3. The Administrator explained that this rule sought to

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safeguard the independence of advisory committees, prevent financial

entanglements between committee members and the agency, and avoid the

appearance or reality of political interference with committee work. Id.

      32.     In 2020, several courts held that the directive was unlawful. See

Physicians for Soc. Resp., 956 F.3d at 650; Nat. Res. Def. Council, Inc. v. EPA, 438

F. Supp. 3d 220, 235 (S.D.N.Y. 2020). In acquiescing to these rulings, EPA

explained that it would adhere to a different “Conflict of Interest Policy” addressing

grant-based conflicts of interest on an appointment-by-appointment basis. See

Ex. 2, EPA, EPA Will Not Appeal Adverse SDNY Decision Regarding October 31,

2017 Federal Advisory Committee Directive (June 24, 2020) (“Conflict of Interest

Policy”). EPA explained that the unfavorable rulings invalidated the directive’s

“blanket prohibition,” but they “d[id] not prevent future actions by EPA to regulate

the composition of its advisory committees, including policies or regulations

governing the participation of committee members who receive grants from EPA,”

nor did they “call into question EPA’s responsibility to ensure the independence of

its committee members.” Id.

II.   The Board Advises EPA On Scientific Matters

      33.     The Board is an EPA advisory committee subject to FACA. It typically

consists of 40 to 50 members appointed by the Administrator as special government

employees, and it has a broad range of responsibilities.

      34.     As a general matter, the Board is charged with providing “such

scientific advice as may be requested” by the Administrator or various congressional

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committees. 42 U.S.C. § 4365(a). The Board also must review a wide variety of

proposed EPA actions, including any “standard, limitation, or regulation” to be

issued under the authority of the Administrator, and provide “advice and comments

on the adequacy of the scientific and technical basis of the proposed [action].” Id.

§ 4365(c).

      35.      In addition, the Board reviews EPA research programs and plans,

organizes issue-specific subcommittees and panels consisting of both members and

non-members, and advises the agency on “standards for protection of human health

and the environment” and “[t]he relative importance of various natural and

anthropogenic pollution sources.” Ex. 3, SAB Charter (2021); see EPA, About the

Science Advisory Board, https://sab.epa.gov/ords/sab/f?p=100:2:5521619835417 (last

visited Oct. 4, 2021). The Board also maintains “standing committees” made up of

approximately five to ten members of the Board. These standing committees

provide advice and recommendations on specific matters, such as “economic

analysis of EPA programs” (Economic Analysis Committee), “climate change science

and the effects of climate change” (Climate Science Committee), and matters with

“significant direct impact[s] on farming and agriculture-related industries”

(Agricultural Science Committee). See EPA, SAB Current Committees and Panels,

https://sab.epa.gov/ords/sab/f?p=100:3:5521619835417 (last visited Oct. 4, 2021).

      36.      In light of these and other responsibilities, it is not surprising that the

Board plays a significant role in EPA policymaking, including with respect to

policies that implicate regulated industries. This is evident in the advisory reports

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issued by the Board and its standing committees, which commonly review EPA

actions and give policy recommendations that affect regulated industries. See EPA,

SAB Advisory Reports, https://sab.epa.gov/ords/sab/f?p=100:12:13896840066909

(last visited Oct. 4, 2021) (compiling the reports below); see also, e.g., SAB, EPA-

SAB-20-004, Consideration of the Scientific and Technical Basis of EPA’s Proposed

Mercury and Air Toxics Standards for Power Plants Residual Risk and Technology

Review and Cost Review (Apr. 9, 2020) (“Mercury Standards Review”); SAB, EPA-

SAB-20-003, Consideration of the Scientific and Technical Basis of the EPA’s

Proposed SAFE Vehicles Rule for Model Years 2021–2026 Passenger Cars and

Light Trucks (Feb. 27, 2020); SAB, EPA-SAB-17-012, Advice on the Use of

Economy-Wide Models in Evaluating the Social Costs, Benefits, and Economic

Impacts of Air Regulations (Sept. 29, 2017).

      37.     For instance, the Board has given advice on which policies EPA should

pursue. In 2015, the Board voiced strong support for the Climate Action Plan, a

sweeping regulatory effort to restrict industrial emissions and form international

agreements to address climate change, urging EPA to “declar[e]” that its

“transformational” “new vision” and “new role in greenhouse gas emissions” “can

inform major advances for air, climate, and energy both nationally and

internationally.” SAB & Board of Scientific Counselors, EPA-SAB-15-004, Strategic

Research Planning for 2016–2019, at 12 (Jan. 27, 2015) (“Strategic Research

Planning”). Conversely, the Board has objected to EPA rules on policy grounds

(including potentially-self-interested grounds). Reviewing a proposed rule requiring

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the publication of studies and data underlying regulatory decision-making, the

Board recommended over several dissents that EPA take a different course,

contending that existing norms adequately promoted transparency and that the

proposed rule imposed undue costs on researchers. The Board further advised that,

if the proposed rule were nonetheless adopted, EPA should establish a new office to

handle data access and consider “creative ways” to offset researchers’ costs. See

SAB, EPA-SAB-20-005, Consideration of the Scientific and Technical Basis of EPA’s

Proposed Rule Titled Strengthening Transparency in Regulatory Science, at 11–17

(Apr. 24, 2020).

      38.     The Board has also given policy advice on how EPA should evaluate

the economic impacts of its regulations, recommending that “equity in welfare …

should guide the EPA’s thinking about distributional effects” and that EPA should

give “[m]ore consideration” to certain impacts, such as those affecting “property

owners,” “social programs,” and “communities, especially declining communities.”

SAB, EPA-SAB-21-002, Peer Review of the EPA’s Revised Guidelines for Preparing

Economic Analysis, at 62, 65–67 (Jan. 6, 2021). Other examples of the Board’s

policy advice include recommendations that EPA transfer federal technologies into

the marketplace, maintain a fellowship program for environmental scientists, and

even “encourage consumption of a variety of fish.” Strategic Research Planning at

9; SAB, EPA-SAB-14-004, Concern about the Future of the STAR Fellowship

Program, at 1 (Jan. 30, 2014); Mercury Standards Review at 11.



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      39.     In addition, the Board influences policies that affect regulated

industries by recommending subjects that should be researched and the resources

that should be allocated to such research. The Board commonly advises EPA to

“expand” research in certain areas, such as sources of air pollutants, “problematic”

cumulative effects that arise from “the chain of energy development,” mitigation of

climate change impacts, and “environmental justice” for “marginalized stakeholders

and communities.” Strategic Research Planning at 13, 21–23, 26–27. By shaping

EPA’s research agenda in such ways, the Board influences the policies that are

subsequently developed.

      40.     The Board’s policy role was recently illustrated by its involvement in

the federal government’s response to the COVID-19 pandemic. Weighing in on the

organization of the Executive Branch, the Board recommended that EPA “lead”

research efforts concerning the environmental and health factors that affect the

transmission and severity of COVID-19, despite acknowledging that other agencies

such as the Center for Disease Control have “overlap[ping]” mandates. SAB, EPA-

SAB-20-006, Scientific and Technical Review of EPA’s Identification of Research

Needs to Address the Environmental and Human Health Impacts of COVID-19, at

31–32 (June 2, 2020). The Board also identified numerous subjects for further

research and urged EPA to partner with academic institutions to conduct the

research. Id. at 31–33, 36. And the Board offered policy advice, emphasizing that

personal protective “is imperative to community protection in varied settings that

range from occupational to the general community,” recommending that EPA

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consider conducting initial equipment studies with surrogate viruses in order to

avoid delays caused by the approvals necessary to perform actual studies, and

advising EPA to conduct research that “provide[s] reassurance that compliance with

existing regulations is sufficient and beneficial.” Id. at 32, 35–36.

III.   The Committee Advises EPA On Air Pollution

       41.     The Committee is also an advisory committee subject to FACA. It

consists of seven members appointed by the Administrator as special government

employees, and it advises EPA on air quality standards pursuant to the Clean Air

Act.

       42.     Under the Clean Air Act, the Administrator is required to publish and

periodically update a list of “air pollutant[s]” that result from various “mobile or

stationary sources” and contribute, in his judgment, to “air pollution which may

reasonably be anticipated to endanger public health or welfare.” 42 U.S.C.

§ 7408(a), (c). For each listed pollutant, the Administrator must promulgate “air

quality criteria” indicating the “identifiable effects on public health or welfare which

may be expected from the presence of such pollutant in the ambient air.” Id.

§ 7408(a)(2). In addition, for each listed pollutant, the Administrator must

promulgate “national primary and secondary ambient air quality standards.” Id.

§ 7409(a). These air quality standards, also known as NAAQS, are based on the

Administrator’s judgment regarding what is “requisite” to “protect the public

health” (for the primary standards) and to “protect the public welfare” from “any

known or anticipated adverse effects associated with the presence of such air

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pollutant in the ambient air” (for the secondary standards). Id. § 7409(b). Every

five years, the Administrator is required to complete a “thorough review” of the air

quality criteria and the air quality standards and “make such revisions” as may be

appropriate. Id. § 7409(d)(1). The Administrator may perform this review and

revision “more frequently” if he wishes. Id.

      43.     To aid the Administrator in these responsibilities, the Clean Air Act

directs the Administrator to establish the Committee, an “independent scientific

review committee composed of seven members including at least one member of the

National Academy of Sciences, one physician, and one person representing State air

pollution control agencies.” Id. § 7409(d)(2)(A). The Committee is charged with

reviewing the air quality criteria and air quality standards every five years and

“recommend[ing] to the Administrator any new [air quality standards] and

revisions of existing criteria and standards as may be appropriate.” Id.

§ 7409(d)(2)(B). In addition, the Committee must advise the Administrator on the

“relative contribution” of “natural” and “anthropogenic activity” to air pollution;

areas in which additional knowledge or research is needed “to appraise the

adequacy and basis of existing, new, or revised [air quality standards];” and “any

adverse public health, welfare, social, economic, or energy effects which may result

from various strategies for attainment and maintenance of such [air quality

standards].” Id. § 7409(d)(2)(C).

      44.     The Committee’s recommendations play a significant role in EPA

rulemaking. When EPA publishes a notice of proposed rulemaking establishing or

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revising any air quality standards, the agency must “set forth or summarize” the

Committee’s “pertinent findings, recommendations, and comments.” Id.

§ 7607(d)(3). And if the proposed rulemaking “differs in any important respect”

from any of the Committee’s recommendations, EPA must provide an “explanation

of the reasons for such differences.” Id.

IV.   EPA Purges The Membership Of The Board And The Committee

      45.     Since the Board and the Committee were initially established in the

late 1970s, EPA has usually appointed committee members for two- or three-year

terms and has “frequently reappointed” members for additional terms. Union of

Concerned Scientists v. Wheeler, 954 F.3d 11, 14 (1st Cir. 2020). As EPA continues

to recognize even today, members of the Board and the Committee are appointed “to

serve for a term (typically up to three years), which may be renewable for an

additional term.” EPA, SAB Membership and Nomination Process (“SAB

Membership”), https://sab.epa.gov/ords/sab/f?p=100:7:5521619835417 (last visited

Oct. 4, 2021); EPA, CASAC Membership and Nomination Process (“CASAC

Membership”), https://casac.epa.gov/ords/sab/f?p=105:7:2826170208 (last visited

Oct. 4, 2021).

      46.     The members of the Board and the Committee generally complete their

entire terms. Members of the Board and the Committee were rarely if ever fired

before the completion of their terms by the administrations of Presidents George W.

Bush or Barack Obama. During the prior administration, EPA’s 2017 directive

concerning grant-holders (see supra ¶ 31) resulted in several members stepping

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aside or being removed because they chose to maintain their grants and were thus

unable to continue their committee service consistent with the directive. But aside

from such members, on information and belief, no committee members were

removed before the completion of their terms during the prior administration. And

certainly the entire membership of the Board or the Committee was never fired en

masse throughout the two decades spanning the prior three presidential

administrations.

      47.     EPA sharply departed from these longstanding practices in the

opening months of the current administration. On March 31, 2021, only twenty

days after being sworn in, new EPA Administrator Michael Regan abruptly

terminated all current members of the Board and the Committee and announced

that he would “reset” and “reestablish” the committees’ membership. Ex. 4, EPA,

Administrator Regan Directs EPA to Reset Critical Science-Focused Federal

Advisory Committees (Mar. 31, 2021) (“Termination Announcement”). This decision

was immediately and widely recognized as an “unusual” “purge” (supra at 4 n.1),

but the Administrator asserted that it was necessary to ensure that the committees

consist of a “balanced group of experts” and “reverse deficiencies caused by decisions

made in recent years,” specifically the 2017 directive on grant-holders, a decision to

eliminate air pollution review panels that had augmented the Committee, and

certain failures to follow the standard appointment process as described in a 2019

GAO report. Ex. 4, Termination Announcement.



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      48.     On the day after this purge, EPA solicited nominations for a new

Board and a new Committee via notices in the Federal Register. The notice

regarding the Board explained that nominees should be capable of carrying out the

Board’s functions and that EPA would consider the “collective breadth and depth of

scientific expertise” of each nominee and the committee as a whole. 86 Fed. Reg. at

17,148. Also, acknowledging the significance of balanced membership, the notice

stated that EPA would select individuals who would “contribute to the diversity of

perspectives on the committee, e.g., geographical, social, cultural, educational

backgrounds, professional affiliations; and other considerations.” Id. Similarly, the

notice regarding the Committee sought nominees capable of carrying out the

Committee’s functions, including advising the Administrator on “any adverse public

health, welfare, social, economic, or energy effects which may result from various

[air quality standards] strategies.” 86 Fed. Reg. at 17,146. And the notice

reiterated that EPA would select individuals who would contribute diverse

perspectives, including perspectives on economic considerations, and emphasized

that “a balance of scientific perspectives is important.” Id. at 17,147.

      49.     In firing the committee members and soliciting nominees for the

“reestablished” Board and Committee, EPA did not claim that any former member

had been unqualified to serve on the committee. Nor did EPA claim that any

former member’s service had been deficient or unsatisfactory. To the contrary, an

EPA spokesman stated that the fired members were “eligible and encouraged to



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reapply.” Dino Grandoni, EPA dismisses dozens of key science advisers picked under

Trump, Wash. Post (Mar. 31, 2021), https://www.washingtonpost.com/

climate-environment/2021/03/31/epa-advisory-panels.

      50.     In 2021, Dr. Young was renominated to serve as a member of the

Board and nominated to serve as a member of the Committee.

V.    EPA Packs The Board And The Committee With Academics
      Receiving EPA Grants, But Not A Single Industry Representative

      51.     On June 17, 2021, EPA announced the selection of the new Committee

members chosen from among 100 nominees, but EPA did not select Dr. Young to

serve as a member of the new Committee. Ex. 5, EPA, EPA Announces Selections

of Charter Members to the Clean Air Scientific Advisory Committee (June 17, 2021)

(“CASAC Appointment Announcement”). Nor did EPA explain how, if at all, the

new Committee is “fairly balanced in its membership” or protected from

“inappropriate influence,” as required by FACA and its Implementing Regulations.

Instead, EPA merely asserted that the new members are “well-qualified experts

with a cross-section of [the necessary] scientific disciplines and experience” and that

the new Committee is “the most diverse panel since the committee was established”

because it consists of “five women and two men, including three people of color.” Id.

      52.     Six of the seven members appointed by the Administrator are

university professors; the seventh is a state official as required by the Clean Air

Act. The members, the affiliations and expertise highlighted by EPA in announcing




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the selections, and the EPA grant amounts with which they have been associated as

principal investigators are:

       Name                 Affiliation                  Expertise          Grant Amounts
 Elizabeth            Professor, University of   epidemiology,                    $60,031,882
 Sheppard (Chair)     Washington                 biostatistics, and
                                                 exposure assessment
 Michelle Bell        Professor, Yale            epidemiology,                    $29,214,550
                      University                 biostatistics, and
                                                 environmental
                                                 engineering
 James Boylan         Environmental              air quality modeling and            $229,770
                      Protection Division,       monitoring
                      Georgia Department of
                      Natural Resources
 Judith Chow          Professor, Desert          air quality, air quality            $449,456
                      Research Institute of      monitoring, and
                      the Nevada System of       environmental
                      Higher Education           engineering
 Mark Frampton        Professor emeritus,        respiratory medicine and         $36,197,566
                      University of Rochester    inhalation toxicology
                      Medical Center
 Christina Fuller     Associate professor,       respiratory medicine and                N/A
                      Georgia State              inhalation toxicology
                      University
 Alexandro            Associate professor,       epidemiology, exposure                  N/A
 Ponette-González     University of North        assessment, and health
                      Texas                      disparities

See Ex. 5, CASAC Appointment Announcement; EPA, Grantee Research Project

Search (“EPA Grantee Search”), https://cfpub.epa.gov/ncer_abstracts/

index.cfm/fuseaction/search.welcome (last visited Oct. 4, 2021).

       53.       In tandem with these appointments, EPA announced its plan to

“expeditiously” reconsider the particulate matter air quality standards, which EPA

had recently chosen to retain in December 2020. Ex. 6, EPA, EPA to Reexamine

Health Standards for Harmful Soot that Previous Administration Left Unchanged

(June 10, 2021) (“Reconsideration Announcement”); see Review of the National

Ambient Air Quality Standards for Particulate Matter, 85 Fed. Reg. 82,684 (Dec.

                                                 24
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18, 2020). EPA tasked the new Committee with advising on this reconsideration by

reviewing updates to science and policy assessments concerning the particulate

matter air quality standards. Ex. 6, Reconsideration Announcement. The agency

intends to issue a proposed rulemaking on these standards in summer 2022 and a

final rule in spring 2023. Id.

       54.     Shortly after installing the new Committee, EPA announced the

selection of the new Board members chosen from among 352 nominees and

designated which new members would serve on the Board’s standing committees.

Ex. 7, EPA, EPA Announces Selections of Charter Members to the Science Advisory

Board (Aug. 2, 2021) (“SAB Appointment Announcement”). EPA did not select Dr.

Young to serve as a member of the new Board. And again, EPA did not explain

how, if at all, the new Board is fairly balanced or protected from inappropriate

influence. Instead, the agency merely recited its earlier formula that the 47 new

members are “well-qualified experts with a cross-section of [the necessary] scientific

disciplines and experience” and that the new committee is “the most diverse SAB

since the committee was established” because it consists of “22 women and 25 men,

including 16 people of color.” Id. The new members of the Board, their respective

affiliations as identified by the EPA, and the EPA grant amounts with which they

have been associated as principal investigators are:

         Name                                Affiliation             Grant Amounts
 Alison Cullen (Chair)   University of Washington                               N/A
 Marjorie Aelion         University of Massachusetts Amherst                    N/A
 David Allen             University of Texas                             $18,552,200
 Susan Anenberg          George Washington University                           N/A
 Florence Anoruo         South Carolina State University                        N/A

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Joseph Arvai             University of Southern California                 $228,463
Barbara Beck             Gradient (consulting)                                  N/A
Roland Benke             Renaissance Code Development (consulting)              N/A
Tami Bond                Colorado State University                        $5,657,600
Mark Borsuk              Duke University                                  $3,009,840
Sylvie Brouder           Purdue University                                      N/A
Jayajit Chakraborty      University of Texas at El Paso                         N/A
Aimin Chen               University of Pennsylvania                             N/A
Amy Childress            University of Southern California                  $499,743
Weihsueh Chiu            Texas A&M University                             $3,599,921
Ryan Emanuel             North Carolina State University; Lumbee Tribe          N/A
Earl Fordham             Washington Department of Health                        N/A
John Guckenheimer        Cornell University                                     N/A
Steven Hamburg           Environmental Defense Fund (nongovernment              N/A
                         organization)
Marccus Hendricks        University of Maryland-College Park                    N/A
Selene Hernandez-Ruiz    Colorado Department of Health and Environment          N/A
Elena Irwin              Ohio State University                                  N/A
David Keiser             University of Massachusetts Amherst                $800,000
Mark LeChevallier        Dr. Water Consulting (consulting)                  $536,316
Angela Leung             University of California Los Angeles                   N/A
Lisa Lone Fight          Three Affiliated Tribes                                N/A
Lala Ma                  University of Kentucky                                 N/A
John Morris              University of Connecticut                              N/A
Enid Neptune             Johns Hopkins University                               N/A
Sheila Olmstead          University of Texas at Austin                    $3,123,375
Austin Omer              Illinois Farm Bureau (nongovernment                    N/A
                         organization)
Gloria Post              New Jersey Dept. of Environmental Protection           N/A
Kristi Pullen-Fedinick   Natural Resources Defense Council                      N/A
                         (nongovernment organization)
Amanda Rodewald          Cornell University                                     N/A
Emma Rosi                Cary Institute of Ecosystem Studies                    N/A
                         (nongovernment organization)
Jonathan Samet           Colorado School of Public Health                $28,276,921
Elizabeth Sheppard       University of Washington                        $60,031,882
Drew Shindell            Duke University                                        N/A
Genee Smith              Johns Hopkins University                                N/A
Richard Smith            University of North Carolina, Chapel Hill          $350,000
Daniel Stram             University of Southern California               $16,715,577
Peter Thorne             University of Iowa                                 $335,000
Godfrey Uzochukwu        North Carolina A&T State University                     N/A
Wei-Hsung Wang           Louisiana State University                             N/A
June Weintraub           San Francisco Department of Public Health              N/A
Sacoby Wilson            University of Maryland-College Park              $2,211,715
Dominique van der        Purdue University                                      N/A
Mensbrugghe




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See Ex. 7, SAB Appointment Announcement; EPA, Chartered SAB Members,

https://sab.epa.gov/ords/sab/f?p=100:29:12590422127721:::RP,29:P29_COMMITTEE

ON:Board (last visited Oct. 5, 2021); EPA Grantee Search.

VI.   EPA’s Failure To Ensure The New Committees Are Fairly Balanced

      55.     As a result of EPA’s unprecedented purge of the two committees, the

newly constituted Board and Committee are not fairly balanced in terms of the

points of view represented or the functions to be performed by the advisory

committees.

      56.     Most prominently, the committees lack fair balance because they do

not include any members representing regulated industries. Indeed, the 47-

member Board and the 7-member Committee do not include a single industry-

affiliated member. Instead, the Board consists of 35 members affiliated with

academic institutions, 5 members affiliated with state or tribal governments, 4

members affiliated with non-governmental organizations, and 3 members affiliated

with consulting organizations. See supra ¶ 54.2 And the Committee consists of 6




      2  Barbara Beck (Gradient), Roland Benke (Renaissance Code Development),
and Mark LeChevallier (Dr. Water Consulting) are not industry-affiliated members;
they are consulting-affiliated members. Nor is Austin Omer (Illinois Farm Bureau)
an industry-affiliated member; he is a nongovernment organization-affiliated
member. See, e.g., GAO, GAO-19-280, EPA Advisory Committees: Improvements
Needed for the Member Appointment Process, at 42 (2019),
https://www.gao.gov/assets/gao-19-280.pdf (classifying advisory committee members
in six categories: academic, consultant, government, industry, nongovernment
organization, or other).

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members affiliated with academic institutions and a single member affiliated with a

state government. See supra ¶ 52.

      57.     EPA’s own prior actions demonstrate that this exclusion of industry-

affiliated members has resulted in unfairly balanced committees. During prior

administrations dating back to 2000, even though the Board often had fewer

members than it does today, the committee consistently included at least 3 to 5

industry-affiliated members (6–10% of the total membership) in addition to any

members affiliated with consulting organizations and non-governmental

organizations. See GAO, GAO-19-280, EPA Advisory Committees: Improvements

Needed for the Member Appointment Process, at 24 fig. 3 (2019),

https://www.gao.gov/assets/gao-19-280.pdf. Industry-affiliated members have also

served on the Committee. And even today, EPA maintains that members of the

Board and the Committee “come from academia, industry, federal, state, and tribal

governments, research institutes and non-governmental organizations.” SAB

Membership (emphasis added); CASAC Membership (emphasis added). Yet the

current committees do not include any such industry-affiliated members.

      58.     Industry-affiliated members are critical to fair balance on these

advisory committees because the committees’ work is informed by—and

significantly affects— the broad spectrum of industries regulated by EPA. For

instance, the Board provides advice on the scientific and technical bases of an

exceedingly wide variety of agency actions involving numerous industries, including

any regulation issued under the Water Pollution Control Act, Resource

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Conservation and Recovery Act, Toxic Substances Control Act, Safe Drinking Water

Act, Clean Air Act, and “any other authority of the Administrator.” 42 U.S.C.

§ 4365(c). In doing so, the Board plays a significant role in EPA policymaking,

including with respect to policies that affect regulated industries. See supra ¶¶ 36–

40. For instance, the Board advises EPA on the economic impacts of regulations,

the “relative importance” of “anthropogenic pollution sources,” and the agency’s

research agenda and thus its policy options. Ex. 3, SAB Charter; see supra ¶¶ 36–

40. And the regulatory efforts advised by the Board can subject regulated

industries to costs totaling millions or even billions of dollars. See, e.g., National

Emission Standards for Hazardous Air Pollutants from Coal- and Oil-Fired Electric

Utility Steam Generating Units, 77 Fed. Reg. 9304, 9306 (Feb. 16, 2012); National

Emission Standards for Hazardous Air Pollutants for Reciprocating Internal

Combustion Engines, 75 Fed. Reg. 51,570, 51,583 (Aug. 20, 2010). In light of these

functions, among others, the input and views of industry-affiliated members on the

Board are essential.

      59.     The same goes for the Committee, which is required to advise EPA on

the “public health, welfare, social, economic, or energy effects” of proposed air

quality standards and often contributes to the agency’s policy assessments

concerning such standards. 42 U.S.C. § 7409(d)(2)(C) (emphasis added). In fact, the

newly constituted Committee is presently tasked with reviewing the policy

assessment concerning particulate matter air quality standards. See Ex. 6,

Reconsideration Announcement. The air quality standards advised by the

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Committee can subject regulated industries to costs totaling billions of dollars. See,

e.g., EPA, Regulatory Impact Analysis of the Final Revisions to the National

Ambient Air Quality Standards for Ground-Level Ozone, at ES-15, 8-4 to 8-5 (Sept.

2015), https://www3.epa.gov/ttnecas1/docs/20151001ria.pdf; National Ambient Air

Quality Standards for Particulate Matter, 78 Fed. Reg. 3086, 3089, 3265 (Jan. 15,

2013). Industry representatives are uniquely and exclusively positioned to assess

policy implications for industry and the economic impacts that air quality standards

may have on industry, as well as the subsequent health, welfare, economic, and

social impacts that may follow. And energy industry representatives are uniquely

and exclusively positioned to provide advice on energy impacts. Without industry

representatives, the stacked Committee is able to give only one-sided advice on

these critical issues, providing an academic viewpoint on the economic effects of air

quality standards to the exclusion of any industry viewpoint—the epitome of unfair

balance.

      60.     The Committee also lacks fair balance because it does not include a

balance of viewpoints on other critical issues, such as whether exposure to ambient

particulate matter at the levels set by current air quality standards causes

premature death—an issue that will be central to the reconsideration of the current

standards that EPA ordered when installing the new Committee. See supra ¶ 53.

EPA ensured that one view—that exposure causes premature death—is well

represented on the new Committee: The Chair and another member have

unequivocally concluded that exposure is responsible for thousands of premature

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deaths each year. See Independent Particulate Matter Review Board, The Need for

a Tighter Particulate-Matter Air-Quality Standard, 383 New Eng. J. Med. 680

(2020). But the contrary view—that exposure has not been shown to cause

premature death—has no such representation on the Committee, even though the

view has been advanced by Dr. Young and others in various publications and EPA

itself previously determined that the issue is subject to “continuing uncertainty.” 85

Fed. Reg. at 82,707; see, e.g., supra ¶ 16. By excluding this view, the EPA has failed

to ensure that the Committee is fairly balanced on a critical pending issue.

VII.   EPA’s Failure To Protect The New Committees From Inappropriate
       Influence

       61.     EPA also failed to properly assure that the reconstituted committees’

advice and recommendations will be the result of the committees’ independent

judgment and will not be inappropriately influenced by EPA or the special interests

of committee members who are financially beholden to EPA due to multi-million

dollar research grants. As noted, numerous current members of the Board and the

Committee have been associated with millions of dollars in research grants. See

supra ¶¶ 52, 54. These extraordinary sums raise a significant risk that the

committees’ advice will not be independent and will be inappropriately influenced

by EPA or the special interests of grant-holding committee members. In particular,

there is a risk that EPA’s control over grant awards will incentivize or pressure,

whether actively or passively, committee members to rubber stamp the

administration’s agenda or otherwise provide advice that advances EPA’s policy


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goals rather than reflecting impartial analysis. In addition, as a result of such

incentives, there is a risk that grant-holding committee members will provide

advice that does not reflect their independent judgment in order to maintain

current grants and continue receiving additional grants. And there is a risk that

committee members will provide self-interested advice that EPA should expand

opportunities for additional research grants that redound to their benefit. See

supra ¶¶ 37, 39.

      62.     Despite these significant risks, EPA did not establish appropriate

provisions—or any provisions—protecting the Board and the Committee against

inappropriate influence and assuring their independence. For example, ignoring its

Conflict of Interest Policy purporting to address grant-based conflicts of interest on

an appointee-by-appointee basis, EPA did not account for the danger of

inappropriate influence in selecting the new committee members, suggesting

instead that conflicts of interest would be ameliorated at some point in the future

“[a]s the committee[s] undertake[] specific advisory activities.” 86 Fed. Reg. at

17,147; see id. at 17,148. Nor did EPA establish rules governing the new grant-

holding committee members or delineating when they are disqualified from

participating in advisory activities. At minimum, EPA was required to prohibit

committee members from providing advice related to work performed under their

own research grants. After all, EPA’s own Inspector General has recognized that

such advice presents a “potential area” of “independence concern.” EPA OIG,

Report No. 13-P-0387, EPA Can Better Document Resolution of Ethics and

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Partiality Concerns in Managing Clean Air Federal Advisory Committees, at 10

(Sept. 11, 2013), https://www.epa.gov/sites/default/files/2015-

09/documents/20130911-13-p-0387.pdf. Yet EPA wholly declined to adopt such

measures.

                                     STANDING

      63.     Dr. Young has standing to challenge EPA’s reconstitution of the Board

and the Committee because he suffered injuries that are fairly traceable to the

agency’s actions and are redressable by a favorable ruling.

      64.     Dr. Young was injured by: (a) his termination from the Board in 2021

before the expiration of his three-year term, (b) the rejection of his renomination

and nomination to serve on the Board and the Committee, (c) the denial of fair

opportunities to compete for appointment and be considered for appointment to

these prestigious advisory committees in accordance with lawful processes; (d) the

denial of opportunities to serve on and have a voice on committees in which he has a

direct interest; and (e) the denial of opportunities to provide input and advice to

EPA through the committees on the impact of environmental policies on regulated

industries.

      65.     Dr. Young’s injuries are fairly traceable to EPA’s decisions to

(a) terminate his appointment to the Board before the expiration of his three-year

term and (b) reconstitute the Board and the Committee because the agency’s actions

in that regard resulted in the denial of his nominations and opportunities to the

detriment of Dr. Young.

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      66.     Dr. Young’s injuries are redressable because a favorable ruling would

provide him with fair opportunities to compete for appointment and be considered

for appointment to the Board and the Committee in accordance with lawful

processes, as well as opportunities to serve on and have a voice on committees in

which he has a direct interest and to provide input and advice to EPA on the impact

of environmental policies on regulated industries.

               CLAIMS FOR RELIEF RELATED TO THE BOARD

          Count I—Violation of Administrative Procedure Act
  EPA Acted Contrary to Law by Reconstituting the Board Without Fair
                               Balance

      67.     Plaintiff incorporates by reference the allegations contained in the

previous paragraphs as though set forth fully herein.

      68.     A court must “hold unlawful and set aside agency action … found to be

… not in accordance with law” as well as agency action “in excess of statutory

jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(A), (C).

      69.     FACA provides that the “membership” of an advisory committee must

be “fairly balanced in terms of the points of view represented and the functions to be

performed by the advisory committee.” Id. app. 2 § 5(b)(2), (c).

      70.     The Board is an advisory committee subject to FACA.

      71.     EPA reconstituted the Board in violation of FACA because the

membership of the committee is not fairly balanced in terms of the points of view

represented and the functions to be performed. Most prominently, the Board lacks

fair viewpoint balance because it does not include any industry-affiliated members.

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See, e.g., supra ¶¶ 55–58. Further, the Board lacks fair functional balance because

it does not include members enabling the Board to adequately advise EPA on

matters implicating regulated industries. See, e.g., id.

      72.     The agency actions reconstituting the Board, including the

appointments of the current Board members following the termination of the former

members, are final agency action subject to review under the APA. 5 U.S.C. § 704.

      73.     This Court should hold unlawful and set aside the agency actions

reconstituting the Board because they violated FACA. Id. § 706(2)(A), (C).

          Count II—Violation of Administrative Procedure Act
     EPA Acted Contrary to Law by Reconstituting the Board Without
         Adequate Protections Against Inappropriate Influence

      74.     Plaintiff incorporates by reference the allegations contained in the

previous paragraphs as though set forth fully herein.

      75.     A court must “hold unlawful and set aside agency action … found to be

… not in accordance with law” as well as agency action “in excess of statutory

jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(A), (C).

      76.     FACA provides that an agency forming an advisory committee must

implement “appropriate provisions to assure that the advice and recommendations

of the advisory committee will not be inappropriately influenced by the appointing

authority or by any special interest, but will instead be the result of the advisory

committee’s independent judgment.” Id. app. 2 § 5(b)(3), (c).

      77.     The Board is an advisory committee subject to FACA.




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      78.     EPA reconstituted the Board in violation of FACA by failing to adopt

appropriate provisions assuring that the committee’s advice will be the result of

independent judgment and will not be inappropriately influenced by EPA or the

special interests of grant-holding committee members. There are significant risks

that the Board’s judgment will be inappropriately influenced by EPA’s control over

grant awards or by committee members’ interests in maintaining their grants and

receiving additional grants. See, e.g., supra ¶¶ 61–62. Yet EPA declined to adopt

appropriate provisions protecting against such influence and assuring the

committee’s independence. Id.

      79.     The agency actions reconstituting the Board, including the

appointments of the current Board members following the termination of the former

members, are final agency action subject to review under the APA. 5 U.S.C. § 704.

      80.     This Court should hold unlawful and set aside the agency actions

reconstituting the Board because they violated FACA. Id. § 706(2)(A), (C).

         Count III—Violation of Administrative Procedure Act
   EPA Acted Arbitrarily and Capriciously in Reconstituting the Board

      81.     Plaintiff incorporates by reference the allegations contained in the

previous paragraphs as though set forth fully herein.

      82.     A court must “hold unlawful and set aside agency action, findings, and

conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).




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      83.      In reconstituting the Board, EPA acted arbitrarily and capriciously by

failing to follow governing regulations and policies. EPA did not follow the FACA

Implementing Regulations’ requirement that an advisory committee “must be fairly

balanced in its membership in terms of the points of view represented and the

functions to be performed.” 41 C.F.R. § 102-3.30(c). Nor did EPA follow the

Implementing Regulations’ requirement that agencies constituting advisory

committees should consider certain enumerated factors, including the “economic …

impact” of the committee’s recommendations and the “business” perspectives

necessary to the committee. Id. pt. 102-3, subpt. B, app. A. In addition, EPA did

not comply with its own policy and the GSA’s recommendation directing the agency

to “consider” a “cross-section of stakeholders directly affected/interested and

qualified when selecting advisory committee members,” such as industry

stakeholders implicated by the Board’s work. EPA Handbook §§ 3.3.2, 4.3.2; see id.

§ 5.21.

      84.      EPA acted arbitrarily and capriciously because it did not reasonably

explain how the new membership of the Board—lacking industry representation

and highly dependent on EPA grants—is fairly balanced or free from inappropriate

influence.

      85.      EPA acted arbitrarily and capriciously by failing to acknowledge or

explain the reversal of (a) its longstanding policy of including representatives of

regulated industry on its advisory committees, (b) its more recent Conflict of

Interest Policy policing grant-based conflicts on an appointment-by-appointment

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basis, and (c) its policy of considering a cross-section of stakeholders directly

affected by and interested in the committee when selecting members.

      86.     EPA acted arbitrarily and capriciously by failing to adequately

consider relevant or important aspects of the problem, including those specifically

identified by FACA, the Implementing Regulations, and agency policies. In

particular, EPA did not adequately consider (a) the balance of the Board’s

membership in terms of the points of view represented and the functions to be

performed by the advisory committee, (b) regulatory factors that should be

considered to achieve a balanced advisory committee, including the economic impact

of the committee’s recommendations, business perspectives necessary to the

committee, or stakeholders directly affected by, involved in, or interested in the

subject matter of the committee, (c) protections to prevent inappropriate influence

and assure independent judgment, and (d) the extent to which EPA grants could

affect committee members’ ability to provide independent advice to EPA. See 41

C.F.R. § 102-3.30(c); id. pt. 102-3, subpt. B, app. A; EPA Handbook §§ 3.3.2, 4.3.2,

5.2.1. These errors are compounded by the fact that EPA apparently did consider

and weight heavily factors that are not identified as relevant by FACA or the

Implementing Regulations, specifically the race and gender of appointees. See Ex.

7, SAB Appointment Announcement.

      87.     The agency actions reconstituting the Board, including the

appointments of the current Board members following the termination of the former

members, are final agency action subject to review under the APA. 5 U.S.C. § 704.

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      88.      This Court should hold unlawful and set aside the agency actions

reconstituting the Board because they were arbitrary and capricious. Id.

§ 706(2)(A).

                            Count IV—Mandamus
               The Board and its Chair Are Subject to Mandamus

      89.      Plaintiff incorporates by reference the allegations contained in the

previous paragraphs as though set forth fully herein.

      90.      The Court has authority over “any action in the nature of mandamus

to compel an officer or employee of the United States or any agency thereof to

perform a duty owed to the plaintiff.” 28 U.S.C. § 1361.

      91.      The Board is clearly obligated to comply with, and to be constituted in

accordance with, federal law, including FACA and the Implementing Regulations.

      92.      As set forth above, the Board is clearly not in compliance with law

because it lacks fair balance, it is not adequately protected from inappropriate

influence, and/or its reconstitution was arbitrary and capricious.

      93.      Dr. Young has no adequate alternative remedy against the Board and

its Chair because the Board is not an agency subject to the APA, and FACA

provides no private right of action.

      94.      The Board and its Chair are therefore subject to mandamus.




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             CLAIMS FOR RELIEF RELATED TO THE COMMITTEE

          Count V—Violation of Administrative Procedure Act
EPA Acted Contrary to Law by Reconstituting the Committee Without Fair
                               Balance

      95.     Plaintiff incorporates by reference the allegations contained in the

previous paragraphs as though set forth fully herein.

      96.     A court must “hold unlawful and set aside agency action … found to be

… not in accordance with law” as well as agency action “in excess of statutory

jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(A), (C).

      97.     FACA provides that the “membership” of an advisory committee must

be “fairly balanced in terms of the points of view represented and the functions to be

performed by the advisory committee.” Id. app. 2 § 5(b)(2), (c).

      98.     The Committee is an advisory committee subject to FACA.

      99.     EPA reconstituted the Committee in violation of FACA because the

membership of the Committee is not fairly balanced in terms of the points of view

represented and the functions to be performed. Most prominently, the Committee

lacks fair viewpoint balance because it does not include any industry-affiliated

members. See, e.g., supra ¶¶ 55–60. Further, the Committee lacks fair functional

balance because it does not include members enabling the Committee to adequately

advise EPA on the economic or energy effects of the air quality standards, as

required by the Clean Air Act and the Committee’s charter. See, e.g., id.

      100.    The agency actions reconstituting the Committee, including the

appointments of the current Committee members following the termination of the

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former members, are final agency action subject to review under the APA. 5 U.S.C.

§ 704.

         101.   This Court should hold unlawful and set aside the agency actions

reconstituting the Committee because they violated FACA. Id. § 706(2)(A), (C).

         Count VI—Violation of Administrative Procedure Act
  EPA Acted Contrary to Law by Reconstituting the Committee Without
        Adequate Protections Against Inappropriate Influence

         102.   Plaintiff incorporates by reference the allegations contained in the

previous paragraphs as though set forth fully herein.

         103.   A court must “hold unlawful and set aside agency action … found to be

… not in accordance with law” as well as agency action “in excess of statutory

jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(A), (C).

         104.   FACA provides that an agency forming an advisory committee must

implement “appropriate provisions to assure that the advice and recommendations

of the advisory committee will not be inappropriately influenced by the appointing

authority or by any special interest, but will instead be the result of the advisory

committee’s independent judgment.” Id. app. 2 § 5(b)(3), (c).

         105.   The Committee is an advisory committee subject to FACA.

         106.   EPA reconstituted the Committee in violation of FACA by failing to

adopt appropriate provisions assuring that the Committee’s advice will be the result

of independent judgment and will not be inappropriately influenced by EPA or the

special interests of grant-holding committee members. There are significant risks

that the Committee’s judgment will be inappropriately influenced by EPA’s control

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over grant awards or by committee members’ interests in maintaining their grants

and receiving additional grants. See, e.g., supra ¶¶ 60–62. Yet EPA declined to

adopt appropriate provisions protecting against such influence and assuring the

committee’s independence. Id.

         107.   The agency actions reconstituting the Committee, including the

appointments of the current Committee members following the termination of the

former members, are final agency action subject to review under the APA. 5 U.S.C.

§ 704.

         108.   This Court should hold unlawful and set aside the agency actions

reconstituting the Committee because they violated FACA. Id. § 706(2)(A), (C).

         Count VII—Violation of Administrative Procedure Act
 EPA Acted Arbitrarily and Capriciously in Reconstituting the Committee

         109.   Plaintiff incorporates by reference the allegations contained in the

preceding paragraphs as though set forth fully herein.

         110.   A court must “hold unlawful and set aside agency action, findings, and

conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).

         111.   In reconstituting the Committee, EPA acted arbitrarily and

capriciously by failing to follow governing regulations and policies. EPA did not

follow the FACA Implementing Regulations’ requirement that an advisory

committee “must be fairly balanced in its membership in terms of the points of view

represented and the functions to be performed.” 41 C.F.R. § 102-3.30(c). Nor did


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EPA follow the Implementing Regulations’ requirement that agencies constituting

advisory committees should consider certain enumerated factors, including the

“economic … impact” of the committee’s recommendations and the “business”

perspectives necessary to the committee. Id. pt. 102-3, subpt. B, app. A. In

addition, EPA did not comply with its own policy and the GSA’s recommendation

directing the agency to “consider” a “cross-section of stakeholders directly

affected/interested and qualified when selecting advisory committee members,” such

as industry stakeholders implicated by the Committee’s work. EPA Handbook

§§ 3.3.2, 4.3.2; see id. § 5.21.

       112.   EPA acted arbitrarily and capriciously because it did not reasonably

explain how the new membership of the Committee—lacking industry

representation and highly dependent on EPA grants—is fairly balanced or free from

inappropriate influence.

       113.   EPA acted arbitrarily and capriciously by failing to acknowledge or

explain the reversal of (a) its longstanding policy of including representatives of

regulated industry on its advisory committees, (b) its more recent Conflict of

Interest Policy policing grant-based conflicts on an appointment-by-appointment

basis, and (c) its policy of considering a cross-section of stakeholders directly

affected by and interested in the committee when selecting members.

       114.   EPA acted arbitrarily and capriciously by failing to adequately

consider relevant or important aspects of the problem, including those specifically

identified by FACA, the Implementing Regulations, and agency policies. In

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particular, EPA did not adequately consider (a) the balance of the Committee’s

membership in terms of the points of view represented and the functions to be

performed by the advisory committee, (b) regulatory factors that should be

considered to achieve a balanced advisory committee, including the economic impact

of the committee’s recommendations, business perspectives necessary to the

committee, or stakeholders directly affected by, involved in, or interested in the

subject matter of the committee, (c) protections to prevent inappropriate influence

and assure independent judgment, and (d) the extent to which EPA grants could

affect committee members’ ability to provide independent advice to EPA. See 41

C.F.R. § 102-3.30(c); id. pt. 102-3, subpt. B, app. A; EPA Handbook §§ 3.3.2, 4.3.2,

5.2.1. These errors are compounded by the fact that EPA apparently did consider

and weight heavily factors that are not identified as relevant by FACA or the

Implementing Regulations, specifically the race and gender of appointees. See Ex.

5, CASAC Appointment Announcement.

         115.   The agency actions reconstituting the Committee, including the

appointments of the current Committee members following the termination of the

former members, are final agency action subject to review under the APA. 5 U.S.C.

§ 704.

         116.   This Court should hold unlawful and set aside the agency actions

reconstituting the Committee because they were arbitrary and capricious. 5 U.S.C.

§ 706(2)(A).



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                        Count VIII—Mandamus
    The Committee and its Chair Are Subject to Mandamus Because the
              Committee Is Not in Compliance with Law

      117.     Plaintiff incorporates by reference the allegations contained in the

previous paragraphs as though set forth fully herein.

      118.     The Court has authority over “any action in the nature of mandamus

to compel an officer or employee of the United States or any agency thereof to

perform a duty owed to the plaintiff.” 28 U.S.C. § 1361.

      119.     The Committee is clearly obligated to comply with, and to be

constituted in accordance with, federal law, including FACA and the Implementing

Regulations.

      120.     As set forth above, the Committee is clearly not in compliance with law

because it lacks fair balance, it is not adequately protected from inappropriate

influence, and/or its reconstitution was arbitrary and capricious.

      121.     Dr. Young has no adequate alternative remedy against the Committee

and its Chair because the Committee is not an agency subject to the APA, and

FACA provides no private right of action.

      122.     The Committee and its Chair are therefore subject to mandamus.

                               PRAYER FOR RELIEF

      Wherefore, Plaintiff prays for the following relief:

      1.       A declaration, order, and judgment holding that EPA and the

Administrator violated the APA, FACA, and the Implementing Regulations in

reconstituting the Board and the Committee, that the committees are not lawfully

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constituted, and that any report, recommendation, or other action of the committees

does not reflect the views of a lawfully constituted committee;

      2.     A preliminary and permanent injunction and writs of mandamus

barring the Board, the Committee, and their respective Chairs from conducting any

committee activities until the relevant committee is lawfully constituted;

      3.     A preliminary and permanent injunction barring EPA and the

Administrator from receiving, relying on, or otherwise using any report, advice, or

other action of the Board, the Committee, or any of their members until the

relevant committee is lawfully constituted;

      4.     A declaration, order, and judgment holding unlawful, enjoining, and

setting aside the appointments of the current members of the Board and the

Committee;

      5.     A preliminary and permanent injunction requiring EPA and the

Administrator to reconstitute the Board and the Committee with fairly balanced

membership and adequate protections against inappropriate influence;

      6.     An award of all costs and attorneys’ fees pursuant to any applicable

statute or authority; and

      7.     Any other relief this Court deems just and proper.




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Dated: October 7, 2021             Respectfully submitted,



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